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10
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11   JOHN FRANKLIN FRIEDLANDER
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13
                           UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
15
                                    EASTERN DIVISION
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     JOHN FRANKLIN FRIEDLANDER,                       Case No. 5:23-CV-1603-PA-MRW
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                 Petitioner,
19                                                    PETITIONER’S MOTION FOR
           v.                                         VOLUNTARY DISMISSAL OF
20                                                    HABEAS CORPUS ACTION (Fed. R.
     JACOB DOERER, Warden, United States              Civ. P. 41(a))
21   Federal Correctional Institute Victorville       [PROPOSED] ORDER SUBMITTED
22   Medium II                                        CONCURRENTLY]
     ,
23                                                    The Honorable Percy Anderson
                 Respondent.                          United States District Judge
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 1         Petitioner John Franklin Friedlander, through his counsel, Deputy Federal Public
 2   Defender Margaret A. Farrand and Senior Litigator Jay McEntire, hereby moves this
 3   Court for an order dismissing his habeas corpus action in United States District Court
 4   case number 5:23-CV-1603-PA-MRW. This motion is made pursuant to Federal Rule
 5   of Civil Procedure 41(a) and is based on the attached declaration of counsel and waiver
 6   of the petitioner, all files and records in this case, and such further information as might
 7   be requested by the Court regarding this motion. The government does not oppose this
 8   motion.
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                                             Respectfully submitted,
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                                             CUAUHTEMOC ORTEGA
11                                           Federal Public Defender
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13   DATED: March 27, 2024                   By /s/ Margaret A. Farrand
14                                           MARGARET A. FARRAND
                                             Deputy Federal Public Defender
15                                           Attorney for JOHN FRANKLIN
                                             FRIEDLANDER
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 1                     DECLARATION OF MARGARET A. FARRAND
 2         I, Margaret A. Farrand, hereby declare under penalty of perjury that the
 3   following is true and correct to the best of my knowledge:
 4         1.     I am a Deputy Federal Public Defender in Los Angeles, and Chief of my
 5   office’s Writs and Appeals Unit. Together with Jay McEntire, Senior Litigator with
 6   Federal Defenders of Eastern Washington and Idaho, I represent Petitioner John
 7   Franklin Friedlander in this case.
 8         2.     In January 1988 Mr. Friedlander was convicted after a guilty plea of one
 9   count of second-degree murder and one count of assault with intent to murder in the
10   case of United States v. Friedlander, E.D. Washington case number 87-cr-308. He was
11   sentenced to life imprisonment.
12         3.     After several parole hearings at which Mr. Friedlander was denied parole,
13   my co-counsel and I filed the instant habeas corpus case on Mr. Friedlander’s behalf in
14   August 2023, to challenge the United States Parole Commission’s June 2022 decision
15   to deny him parole without considering materials his counsel tried to submit on his
16   behalf in that proceeding.
17         4.     Since the filing of Mr. Friedlander’s petition in this action, however, the
18   Parole Board has held a new parole hearing in his case and has granted him parole,
19   effective October 25, 2024. His request for a renewed parole hearing in this action is
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     therefore moot.
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           5.     Having been granted parole, Mr. Friedlander wishes to dismiss his habeas
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     corpus petition in this action. Attached as Exhibit A is a true and correct copy of Mr.
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     Friedlander’s signed declaration and waiver.
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           6.     Attached as Exhibit B is a true and correct copy of a declaration by Mr.
25
     McEntire.
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           7.     Attached a Exhibit C is a true and correct copy of the United States Parole
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     Commission’s Notice of Action, reflecting the results of Mr. Friedlander’s renewed
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 1   parole hearing and grant of parole.
 2         8.     On March 27, 2024, I corresponded by email with Assistant United States
 3   Attorney Alexander Tran, counsel for the government in this action, and asked him
 4   whether the government opposes Mr. Friedlander’s motion for voluntary dismissal of
 5   this action. Mr. Tran informed me that the government does not oppose it.
 6         I declare under penalty of perjury under the laws of the United States of America
 7   that the foregoing is true and correct. Executed at Los Angeles, California, on March
 8   27, 2024.
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10                                                      /s/ Margaret A. Farrand
11                                                      MARGARET A. FARRAND
                                                        Deputy Federal Public Defender
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